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                                                        ChamNote, AwaitClo, APLDIST, APPEAL




                                 U.S. Bankruptcy Court
                         Western District of Washington (Seattle)
                         Adversary Proceeding #: 18−01002−MLB

Assigned to: Marc Barreca                                   Date Filed: 01/10/18
Lead BK Case: 16−14901                                      Date Dismissed: 11/07/18
Lead BK Title: Christine G Tavares
Lead BK Chapter: 7
Demand:
 Nature[s] of Suit: 14 Recovery of money/property −
                        other
                     72 Injunctive relief − other



Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
Michael Klein, as Trustee for the Bankruptcy    represented by Arthur E Ortiz
Estate of Edward Anzaldua                                      Law Office of Arthur Ortiz
                                                               6015 California Ave SW, No.203
                                                               Seattle, WA 98136
                                                               206−898−5704
                                                               Email: arthur@aeolegal.com


Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
Dennis Lee Burman, as Trustee for the           represented by Arthur E Ortiz
Bankruptcy Estate of Edward Anzaldua                           (See above for address)


V.

Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Alabama Housing Finance Authority, a            represented by Stephen J Bumgarner
foreign public corporationdoing business in                    Maynard Cooper and Gale
Washington as SERVISOLUTIONS                                   1901 Sixth Ave N
                                                               2400 Regions/Harbert Plaza
                                                               Birmingham, AL 35203
                                                               205−254−1878
                                                               Email: sbumgarner@maynardcooper.com

                                                               Kimberly Hood
                                                               Robinson Tait PS
                                                               901 Fifth Ave, Suite 400
                                                               Seattle, WA 98164
                                                               206−876−3329
                                                               Email: khood@robinsontait.com
                                                               TERMINATED: 04/04/2018

                                                               Lance E Olsen
                                                               McCarthy & Holthus, LLP
                                                               108 First Avenue South, Suite 300
                                                                                                     1
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                                                          Seattle, WA 98104
                                                          206−596−4843
                                                          Email: bknotice@mccarthyholthus.com

                                                          Craig Peterson
                                                          Robinson Tait PS
                                                          901 Fifth Ave, Suite 400
                                                          Seattle, WA 98164
                                                          206−676−9640
                                                          Email: cpeterson@robinsontait.com

                                                          Michael S Scott
                                                          McCarthy & Holthus LLP
                                                          920 SW 3rd Ave, First Floor
                                                          Portland, OR 97204
                                                          971−201−3200
                                                          Email: bknotice@mccarthyholthus.com

Filing Date     #                                     Docket Text

                    1   Order Granting Motion for Leave to Amend Complaint with Referral to
                        Bankruptcy Court for all Pre−Trial Proceedings (Copy from USDC
                        17−cv−01599−MJP Filed on 1/8/2018) Modified text on 2/8/2018 −
01/10/2018              corrected name of pleading. (PBR). (Entered: 01/10/2018 at 16:37:06)

                    2   Notice and ORDER Setting Status Conference (Related document(s)1
01/11/2018              Complaint). (PBR) (Entered: 01/11/2018 at 13:28:48)

                    3   Sent to BNC for Mailing to Kimberly Hood and Craig Peterson
                        representing Defendant − Notice and ORDER Setting Status Conference
                        (Related document(s)2 Order GENERIC). (PBR) (Entered: 01/11/2018 at
01/11/2018              14:00:44)

                        Receipt of Adversary Filing Fee − $0.00 by PR. Receipt Number 226304.
                        Tavares (admin) Modified on 1/16/2018 − No fee due. (PBR). (Entered:
01/11/2018              01/12/2018 at 07:31:11)

                    4   BNC Certificate of Notice (Related document(s)3 Miscellaneous Mailing
                        of PDF Document by the BNC). Notice Date 01/13/2018. (Admin.)
01/13/2018              (Entered: 01/13/2018 at 21:21:55)

                        Set Hearing on Status Conference (Related document(s)2 Order
                        GENERIC). The Hearing date is set for 2/8/2018 at 09:00 AM at Judge
                        Barreca's Courtroom, U.S. Courthouse, Room 7106. (PBR) (Entered:
02/02/2018              02/02/2018 at 13:11:36)

                    5   COMPLAINT (Copy from USDC 17−cv−01599−MJP Filed on
                        10/27/2017) FOR INJUNCTIVE RELIEF AND DAMAGES against
                        defendant Alabama Housing Finance Authority Filed by Christine Tavares
                        . (Attachments: # 1 Civil Cover Sheet) (PBR) (Entered: 02/06/2018 at
02/06/2018              13:57:51)

                    6   PRAECIPE TO ISSUE SUMMONS (Copy from USDC
                        17−cv−01599−MJP Filed on 10/27/2017) Filed by Arthur E Ortiz on
02/06/2018              behalf of Christine Tavares . (PBR) (Entered: 02/06/2018 at 14:05:25)

                    7   Declaration of Christine Tavares (Copy from USDC 17−cv−01599−MJP
                        Filed on 10/27/2017) Filed by Christine Tavares (PBR) (Entered:
02/06/2018              02/06/2018 at 14:09:56)
                                                                                                 2
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                   8    Declaration of Monique Patzer (Copy from USDC 17−cv−01599−MJP
                        Filed on 10/27/2017) Filed by Arthur E Ortiz on behalf of Monique Patzer
02/06/2018              . (PBR) (Entered: 02/06/2018 at 14:15:12)

                   9    Declaration of Arthur Ortiz (Copy from USDC 17−cv−01599−MJP Filed
                        on 10/27/2017) Filed by Arthur E Ortiz (Attachments: #(1) Exhibit A #(2)
                        Exhibit B #(3) Exhibit C #(4) Exhibit D #(5) Exhibit E) (PBR) (Entered:
02/06/2018              02/06/2018 at 14:22:03)

                   10   MOTION for Temporary Restraining Order to restrain unnecessary
                        foreclosure sale (Copy from USDC 17−cv−01599−MJP Filed on
                        10/27/2017) Filed by Arthur E Ortiz on behalf of Christine Tavares .
                        (Attachments: # 1 Proposed Order) (PBR) (Entered: 02/06/2018 at
02/06/2018              14:28:06)

                   11   Summons electronically issued as to defendant Alabama Housing Finance
                        Authority. (Copy from USDC 17−cv−01599−MJP Filed on 10/27/2017)
02/06/2018              (PBR) (Entered: 02/06/2018 at 14:32:00)

                   12   CERTIFICATE OF SERVICE (Copy from USDC 17−cv−01599−MJP
                        Filed on 10/27/2017) Filed by Arthur E Ortiz on behalf of Christine
02/06/2018              Tavares . (PBR) (Entered: 02/06/2018 at 14:35:33)

                   13   AFFIDAVIT OF SERVICE (Copy from USDC 17−cv−01599−MJP Filed
                        on 10/30/2017) Filed by Arthur E Ortiz on behalf of Christine Tavares .
02/06/2018              (PBR) (Entered: 02/06/2018 at 14:38:15)

                   14   NOTICE of Appearance (Copy from USDC 17−cv−01599−MJP Filed on
                        11/09/2017) Filed by Craig Peterson on behalf of Alabama Housing
02/06/2018              Finance Authority . (PBR) (Entered: 02/06/2018 at 14:43:23)

                   15   RESPONSE (Copy from USDC 17−cv−01599−MJP Filed on 11/09/2017)
                        Filed by Craig Peterson on behalf of Alabama Housing Finance Authority
                        . (Attachments: # 1 Exhibit A). Related document(s) 10 Motion Document
                        GENERIC filed by Plaintiff Christine Tavares. (PBR). (Entered:
02/06/2018              02/06/2018 at 14:51:01)

                   16   DECLARATION of North Cascade Trustee Services (Copy from USDC
                        17−cv−01599−MJP Filed on 11/09/2017) Filed by Craig Peterson .
02/06/2018              (Attachments: # 1 Exhibit A) (PBR) (Entered: 02/06/2018 at 14:57:47)

                   17   Response (Copy from USDC 17−cv−01599−MJP Filed on 11/09/2017)
                        Filed by Arthur E Ortiz on behalf of Christine Tavares . (Attachments: # 1
                        Declaration # 2 Exhibit A # 3 Exhibit B # 4 Certificate of Service).
                        Related document(s) 10 Motion Document GENERIC filed by Plaintiff
02/06/2018              Christine Tavares. (PBR). (Entered: 02/06/2018 at 15:09:08)

                   18   ORDER TO SHOW CAUSE as to defendant why it should be granted
                        additional time to respond to Plaintiff's Motion for a Temporary
                        Restraining Order in a brief of no more than five (5) pages due November
                        17, 2017 with Plaintiff's response due November 20, 2017. Signed by
                        Judge Marsha J. Pechman. (Copy from USDC 17−cv−01599−MJP Filed
02/06/2018              on 11/14/2017) (PBR) (Entered: 02/06/2018 at 15:12:17)

02/06/2018         19   Response by Defendant Alabama Housing Finance Authority to Motion
                        for Temporary Restraining Order (Copy from USDC 17−cv−01599−MJP
                        Filed on 11/17/2017) (Related document(s)10 Motion Document
                        GENERIC). .. Filed by Craig Peterson on behalf of Alabama Housing

                                                                                                     3
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                        Finance Authority . (PBR) (Entered: 02/06/2018 at 15:25:40)

                   20   Declaration of Anthony Box filed by Defendant Alabama Housing
                        Finance Authority (Copy from USDC 17−cv−01599−MJP Filed on
                        11/17/2017) (Related document(s)10 Motion Document GENERIC). ..
                        Filed by Craig Peterson on behalf of Alabama Housing Finance Authority
02/06/2018              . (PBR) (Entered: 02/06/2018 at 15:30:47)

                   21   RESPONSE TO ORDER TO SHOW CAUSE by Plaintiff Christine
                        Tavares (Copy from USDC 17−cv−01599−MJP Filed on 11/17/2017)
                        Filed by Arthur E Ortiz on behalf of Christine Tavares . (Attachments: # 1
                        Declaration # 2 Exhibit A # 3 Exhibit B # 4 Certificate of Service) (PBR)
02/06/2018              (Entered: 02/06/2018 at 15:42:54)

                   22   ORDER granting Plaintiff's Motion for a Temporary Restraining Order
                        and denying Defendant's Motion for Additional Time to respond. As a
                        condition of granting the temporary restraining order, the Court orders
                        Plaintiff to pay the Clerk of Court $2,302.66 monthly, due on the fifteenth
                        (15) day of each month, pending resolution of this action on the merits.
                        Signed by Judge Marsha J. Pechman (Copy from USDC
                        17−cv−01599−MJP Filed on 11/27/2017) (Related document(s)10 Motion
                        Document GENERIC, 15 Motion Document GENERIC). (PBR) (Entered:
02/06/2018              02/06/2018 at 15:51:04)

                   23   ORDER REGARDING INITIAL DISCLOSURES AND JOINT STATUS
                        REPORT (Copy from USDC 17−cv−01599−MJP Filed on 11/30/2017) by
02/06/2018              Judge Marsha J. Pechman (PBR) (Entered: 02/06/2018 at 16:16:51)

                   24   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM 12 b (1)
                        and 12 b (6), (Copy from USDC 17−cv−01599−MJP Filed on 12/6/2017)
                        Filed by Craig Peterson on behalf of Alabama Housing Finance Authority
                        . (Attachments: # 1 supplement # 2 Exhibit A # 3 Exhibit # 4 Exhibit # 5
02/06/2018              Exhibit # 6 Exhibit # 7 Exhibit) (PBR) (Entered: 02/06/2018 at 16:33:07)

                   25   Agreed Stipulated MOTION RE: EXTENSION OF DEADLINES FOR
                        INITIAL DISCLOSURES, JOINT STATUS REPORT AND
                        DISCOVERY PLAN. (Copy from USDC 17−cv−01599−MJP Filed on
                        12/8/2017) Filed by Arthur E Ortiz on behalf of Christine Tavares . (PBR)
02/07/2018              (Entered: 02/07/2018 at 09:02:41)

                   26   STIPULATION AND ORDER ON EXTENSION OF DEADLINES
                        (Copy from USDC 17−cv−01599−MJP Filed on 12/12/2017) Signed by
                        Judge Marsha J. Pechman. (Related document(s)25 Motion Document
02/07/2018              GENERIC). (PBR) (Entered: 02/07/2018 at 09:07:16)

                   27   MOTION for Leave to File Amended Complaint. (Copy from USDC
                        17−cv−01599−MJP Filed on 12/18/2017) Filed by Arthur E Ortiz on
                        behalf of Christine Tavares . (Attachments: # 1 Amended Complaint # 2
                        Declaration # 3 Declaration # 4 Declaration # 5 Exhibit A # 6 Exhibit B #
                        7 Exhibit C # 8 Exhibit D # 9 Exhibit E # 10 Exhibit F # 11 Exhibit G # 12
                        Proposed Order # 13 Certificate of Service) (PBR) (Entered: 02/07/2018 at
02/07/2018              09:29:26)

                   28   Response to MOTION TO DISMISS FOR FAILURE TO STATE A
                        CLAIM 12 b (1) and 12 b (6)(Copy from USDC 17−cv−01599−MJP Filed
                        on 12/22/2017) (Related document(s)24 Document GENERIC). .. Filed by
                        Arthur E Ortiz on behalf of Christine Tavares . (Attachments: # 1
                        Declaration # 2 Exhibit A # 3 Exhibit B # 4 Proposed Order # 5 Certificate
02/07/2018              of Service) (PBR) (Entered: 02/07/2018 at 09:45:40)

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                   29   Response to MOTION for Leave to File Amended Complaint. (Copy from
                        USDC 17−cv−01599−MJP Filed on 12/26/2017) (Related document(s)27
                        Motion Document GENERIC). .. Filed by Craig Peterson on behalf of
                        Alabama Housing Finance Authority . (PBR) (Entered: 02/07/2018 at
02/07/2018              09:50:27)

                   30   NOTICE of Supplemental Authority re Response to Motion, to Dismiss by
                        Plaintiff Christine Tavares (Copy from USDC 17−cv−01599−MJP Filed
                        on 12/28/2017) Filed by Arthur E Ortiz on behalf of Christine Tavares .
                        (Related document(s)28 Response). (Attachments: # 1 supplement # 2
02/07/2018              Certificate of Service) (PBR) (Entered: 02/07/2018 at 09:57:58)

                   31   Reply by Plaintiff Christine Tavares, TO RESPONSE to MOTION for
                        Leave to File Amended Complaint (Copy from USDC 17−cv−01599−MJP
                        Filed on 12/28/2017) (Related document(s)27 Motion Document
                        GENERIC). .. Filed by Arthur E Ortiz on behalf of Christine Tavares .
                        (Attachments: # 1 Certificate of Service) (PBR) (Entered: 02/07/2018 at
02/07/2018              10:05:05)

                   32   Reply by Defendant Alabama Housing Finance Authority TO RESPONSE
                        to MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM 12 b
                        (1) and 12 b (6) (Copy from USDC 17−cv−01599−MJP Filed on
                        12/29/2017) (Related document(s)24 Document GENERIC). .. Filed by
                        Craig Peterson on behalf of Alabama Housing Finance Authority .
                        (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5
02/07/2018              Exhibit 5) (PBR) (Entered: 02/07/2018 at 10:19:09)

                   33   SURREPLY filed by Plaintiff Christine Tavares re MOTION TO
                        DISMISS FOR FAILURE TO STATE A CLAIM 12 b (1) and 12 b (6)
                        Motion to Strike Reply. (Copy from USDC 17−cv−01599−MJP Filed on
                        12/30/2017) (Related document(s)24 Motion Document GENERIC). ..
                        Filed by Arthur E Ortiz on behalf of Christine Tavares . (Attachments: # 1
02/07/2018              Certificate of Service) (PBR) (Entered: 02/07/2018 at 10:24:37)

                   34   Request for Courtesy Notice of Electronic Filing . Filed by Rory C
                        Livesey on behalf of Courtesy NEF. (Livesey, Rory) (Entered: 02/07/2018
02/07/2018              at 11:27:27)

                        Minutes. Status Conference Held. Appearances: Arthur Ortiz representing
                        plaintiff; Kimberly Hood representing defendant; Rory Livesey
                        representing trustee. (related document(s): 2 Order GENERIC, Set
                        Hearing.: Continued Status Conference/Pretrial Conference continueed to
                        04/05/2018 at 09:00 AM at Judge Barreca's Courtroom, U.S. Courthouse,
                        Room 7106. All adversarial hearings to be held in Seattle. (KEK)
02/08/2018              (Entered: 02/09/2018 at 12:00:16)

                   35   Amend Complaint. Defendants Alabama Housing Finance Authority
                        added to the case. Amending: supplementing facts and adding a claim.
                        (Related document(s)1 Complaint)... Filed by Arthur E Ortiz on behalf of
                        Christine Tavares. (Ortiz, Arthur) Modified on 2/16/2018 − Defendant
                        added again with this entry; CM removed Deft from case docket. (PBR).
02/09/2018              (Entered: 02/09/2018 at 15:19:56)

                   36   Pro Hac Vice Application .. Filed by Kimberly Hood on behalf of
                        Alabama Housing Finance Authority (Hood, Kimberly) (Entered:
02/15/2018              02/15/2018 at 15:59:17)

02/15/2018              Receipt of filing fee for Pro Hac Vice Application(18−01002−MLB)
                        [motion,1990] ( 231.00). Receipt number 24450799. Fee amount $ 231.00.

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                        (U.S. Treasury) (Entered: 02/15/2018 at 15:59:45)

                   37   Defendant's Motion to Dismiss Adversary Case 18−01002−MLB with
                        Notice of Hearing. Filed by Kimberly Hood on behalf of Alabama
                        Housing Finance Authority The Hearing date is set for 4/5/2018 at 09:30
                        AM at Judge Barreca's Courtroom, U.S. Courthouse, Room 7106.
                        Response due by 3/29/2018. (Attachments: # 1 Pleading Memorandum in
                        Support # 2 Exhibit 1 # 3 Exhibit 2 # 4 Exhibit 3 # 5 Exhibit 4 # 6 Exhibit
                        5 # 7 Exhibit 6 # 8 Exhibit 7 # 9 Exhibit 8 # 10 Exhibit 9 # 11 Exhibit 10 #
                        12 Notice of Hearing # 13 Proposed Order) (Hood, Kimberly) (Entered:
02/25/2018              02/25/2018 at 21:56:25)

                   38   Agreed Motion Parties jointly request deadline adjustment per stipulation
                        with Notice of Hearing. Filed by Arthur E Ortiz on behalf of Christine
                        Tavares The Hearing date is set for 3/27/2018 at 04:00 PM at Judge
                        Barreca's Courtroom, U.S. Courthouse, Room 7106. Response due by
                        3/27/2018. (Attachments: # 1 Proposed Order) (Ortiz, Arthur) (Entered:
03/27/2018              03/27/2018 at 15:29:06)

                   39   Motion LCR 7(m) Praecipe to replace Dkt. No. 38 with corrected
                        document, filed with this Praecipe, correcting the absence of party
                        signatures. Filed by Arthur E Ortiz on behalf of Christine Tavares
                        (Attachments: # 1 Pleading Corrected Pleading # 2 Pleading corrected
03/27/2018              pleading) (Ortiz, Arthur) (Entered: 03/27/2018 at 16:03:53)

                   40   Received UNSIGNED Order Forwarded to Chambers for Judge's
                        Signature. Filed by Ortiz, Arthur. Related document 39 (Entered:
03/27/2018              03/27/2018 at 17:31:01)

                        Minutes. Hearing Not Held. No Appearances. (related document(s): 38
                        Motion filed by Christine Tavares filed by Arthur E Ortiz. : Document #39
03/27/2018              replaces #38. (KEK) (Entered: 04/03/2018 at 11:00:38)

                   41   Order On Parties' Stipulated Motion RE: Continuance of Status
                        Conference and Extension of Deadline (Related document(s)39 Motion).
                        The Hearing date is set for 5/3/2018 at 09:00 AM at Judge Barreca's
                        Courtroom, U.S. Courthouse, Room 7106.. (PBR) (Entered: 03/28/2018 at
03/28/2018              13:12:59)

                        Minutes. (related document(s): Set Hearing) Continued Hearing scheduled
                        for 05/03/2018 at 09:00 AM at Judge Barreca's Courtroom, U.S.
04/02/2018              Courthouse, Room 7106. (KEK) (Entered: 04/02/2018 at 10:30:52)

                   42   Withdrawal and Substitution of Attorney Lance E Olsen and Lance E
                        Olsen for Alabama Housing Finance Authority. Involvement of Kimberly
                        Hood Terminated.. Filed by Lance E Olsen on behalf of Alabama Housing
04/04/2018              Finance Authority. (Olsen, Lance) (Entered: 04/04/2018 at 16:45:23)

                        Minutes. (related document(s): 37 Motion to Dismiss Adversary Case filed
                        by Alabama Housing Finance Authority filed by Kimberly Hood.:
                        Continued Hearing scheduled for 05/03/2018 at 09:30 AM at Judge
                        Barreca's Courtroom, U.S. Courthouse, Room 7106. (KEK) (Entered:
04/05/2018              04/12/2018 at 10:47:05)

04/11/2018              Notice to Court Requesting Continuance of Hearing on Motion − from:
                        Date of Hearing: 4/5/2018 at 9:30 am. to: 5/3/2018 at 9:30 am. Filed by
                        Lance E Olsen on behalf of Alabama Housing Finance Authority. (Related
                        document(s)37 Motion to Dismiss Adversary Case, 42 Withdrawal and
                        Substitution of Attorney). (Olsen, Lance) (Entered: 04/11/2018 at
                                                                                                       6
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                        14:16:47)

                   43   Pro Hac Vice Application .. Filed by Lance E Olsen on behalf of Alabama
                        Housing Finance Authority (Olsen, Lance) (Entered: 04/26/2018 at
04/26/2018              16:23:55)

                        Receipt of filing fee for Pro Hac Vice Application(18−01002−MLB)
                        [motion,1990] ( 231.00). Receipt number 24673233. Fee amount $ 231.00.
04/26/2018              (U.S. Treasury) (Entered: 04/26/2018 at 16:28:30)

                   44   Received UNSIGNED Order Forwarded to Chambers for Judge's
                        Signature. Filed by Olsen, Lance. Related document 43 (Entered:
04/26/2018              04/26/2018 at 17:02:02)

                   45   Plaintiff's Response to Defendant AHFA's (Related document(s)37 Motion
                        to Dismiss Adversary Case)... Filed by Arthur E Ortiz on behalf of
04/26/2018              Christine Tavares. (Ortiz, Arthur) (Entered: 04/26/2018 at 20:44:21)

                   46   Plaintiff's Declaration (Related document(s)37 Motion to Dismiss
                        Adversary Case)... Filed by Arthur E Ortiz on behalf of Christine Tavares.
                        (Attachments: # 1 Exhibit A # 2 Exhibit B) (Ortiz, Arthur) (Entered:
04/26/2018              04/26/2018 at 20:48:07)

                   47   Supporting Declaration (Related document(s)37 Motion to Dismiss
                        Adversary Case)... Filed by Arthur E Ortiz on behalf of Christine Tavares.
                        (Attachments: # 1 Exhibit G) (Ortiz, Arthur) (Entered: 04/26/2018 at
04/26/2018              20:51:27)

                   48   ORDER On Pro Hac Vice Application. Stephen Bumgarner for Alabama
                        Housing Finance Authority (Related Doc # 43) . (PBR) (Entered:
04/27/2018              04/27/2018 at 15:15:26)

                        Minutes. (related document(s): 39 Motion filed by Christine Tavares, 41
                        Scheduling Order.: Continued Hearing scheduled for 05/03/2018 at 09:30
                        AM at Judge Barreca's Courtroom, U.S. Courthouse, Room 7106. (KEK)
04/30/2018              (Entered: 04/30/2018 at 15:04:45)

                        Minutes. (related document(s): 2 Order GENERIC, Set Hearing)
                        Continued Hearing scheduled for 05/03/2018 at 09:30 AM at Judge
                        Barreca's Courtroom, U.S. Courthouse, Room 7106. (KEK) (Entered:
04/30/2018              04/30/2018 at 15:05:37)

                        Notice to Court of Intent to Argue. Date of Hearing: 5/3/2018. Filed by
                        Lance E Olsen on behalf of Alabama Housing Finance Authority. (Related
                        document(s)37 Motion to Dismiss Adversary Case, Minutes Hearing
04/30/2018              Held). (Olsen, Lance) (Entered: 04/30/2018 at 15:30:23)

                   49   Motion for Authorization to Secure Full Appraisal of Real Property with
                        Notice of Hearing. Filed by Lance E Olsen on behalf of Alabama Housing
                        Finance Authority The Hearing date is set for 6/7/2018 at 09:00 AM at
                        Judge Barreca's Courtroom, U.S. Courthouse, Room 7106. Response due
                        by 5/31/2018. (Attachments: # 1 Notice of Hearing # 2 Proposed Order)
                        (Olsen, Lance) *Modified on 5/1/2018 − Incorrect time of 9:00 AM listed
                        on pdf's (including notice of hearing); calendar edited to reflect correct
04/30/2018              time of 9:30. (PBR). (Entered: 04/30/2018 at 17:31:41)

05/01/2018         50   Defendant's Reply in Support of Motion to Dismiss the Plaintiff's Amended
                        Complaint (Related document(s)35 Amend Complaint). Proof of Service.

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                        Filed by Michael S Scott on behalf of Alabama Housing Finance
                        Authority. (Scott, Michael) (Entered: 05/01/2018 at 15:02:48)

                        Minutes. Hearing Held. Appearances: Arthur Ortiz representing plaintiff;
                        Stephen Bumgarner representing defendant; Lance Olsen representing
                        defendant; Rory Livesey representing trustee. (related document(s): 37
                        Motion to Dismiss Adversary Case filed by Alabama Housing Finance
                        Authority. : Matter is taken under Advisement. Parties will be contacted
                        with date and time of Oral Ruling and may appear telephonically. (KEK)
05/03/2018              (Entered: 05/04/2018 at 12:13:06)

                        Minutes. Hearing Held. Appearances: Arthur Ortiz representing plaintiff;
                        Stephen Bumgarner representing defendant; Lance Olsen representing
                        defendant; Rory Livesey representing trustee. (related document(s): 41
                        Scheduling Order.: Status Conference continued to 07/19/2018 at 09:00
                        AM at Judge Barreca's Courtroom, U.S. Courthouse, Room 7106. (KEK)
05/03/2018              (Entered: 05/04/2018 at 12:19:39)

                        Minutes. (related document(s): 37 Motion to Dismiss Adversary Case filed
                        by Alabama Housing Finance Authority filed by Kimberly Hood. : Oral
                        ruling scheduled for 06/07/2018 at 11:00 AM at Judge Barreca's
                        Courtroom, U.S. Courthouse, Room 7106. Parties may appear
05/03/2018              telephonically. (KEK) (Entered: 05/16/2018 at 11:35:12)

                   51   Letter To and Subject: Partial Withdrawal of Claims (Related
                        document(s)37 Motion to Dismiss Adversary Case). Filed by Arthur E
                        Ortiz on behalf of Christine Tavares. (Ortiz, Arthur) (Entered: 05/09/2018
05/09/2018              at 13:04:40)

                   52   Declaration of No Objection . The Filer represents to the Court, under
                        penalty of perjury, that Notice of the Motion linked to this entry was
                        served on 4/30/2018 in accordance with the proof of service filed herein
                        and that no objection to that Motion has been filed in the Office of the
                        Clerk or received by the Filer. (Related document(s)49 Motion)... Filed by
                        Lance E Olsen of McCarthy & Holthus, LLP on behalf of Alabama
                        Housing Finance Authority. (Olsen, Lance) (Entered: 06/06/2018 at
06/06/2018              14:06:18)

                   53   Received UNSIGNED Order Forwarded to Chambers for Judge's
                        Signature. Filed by Olsen, Lance. Related document 49 (Entered:
06/06/2018              06/06/2018 at 14:31:01)

                   54   Stipulated ORDER on Defendant's Motion for Authorization to Secure
06/07/2018              Appraisal (Related Doc # 49) . (SRG) (Entered: 06/07/2018 at 11:10:46)

                        Minutes. Oral Ruling. Appearances: Arthur Ortiz representing plaintiff;
                        Lance Olsen representing defendant. (related document(s): 37 Motion to
                        Dismiss Adversary Case filed by Alabama Housing Finance Authority
                        filed by Kimberly Hood.: Granted Defendant's Motion to Dismiss.
                        Plaintiff is granted Leave to AmendComplaint. Plaintiff shall file and
                        serve an Amended Complaint within 21 days of today. Plaintiff to submit
06/07/2018              Order. (KEK) (Entered: 06/07/2018 at 12:16:05)

                        Minutes. Hearing Not Held. Order to be entered pursuant to Local
                        Bankruptcy Rule 9013−1(f)(2). (related document(s): 49 Motion filed by
                        Alabama Housing Finance Authority filed by Lance E Olsen (KEK)
06/07/2018              (Entered: 06/07/2018 at 12:21:14)



                                                                                                     8
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                   55       PDF with attached Audio File. Court Date & Time [ 6/7/2018 11:22:32
                        AM ]. File Size [ 8372 KB ]. Run Time [ 00:23:15 ]. (admin). (Entered:
06/12/2018              06/12/2018 at 12:46:37)

                        Audio CD Request. Hearing Date and Time: 06/07/2018 @9:30am. Other
                        Info: Argument and Ruling.. Requested by: Arthur Ortiz, AHFA
                        (ServiSolutions).. Please notify Bonnie Reed at 206−624−3005 or
                        info@rjwtranscripts.com when disk is ready.. (Transcriber − Strehlo,
06/13/2018              Bonnie) (Entered: 06/13/2018 at 11:06:53)

                   56   Ex Parte Application to Shorten Time with Notice of Hearing. Filed by
                        Arthur E Ortiz on behalf of Christine Tavares (Attachments: # 1 Pleading
                        Substantive Motion to be heard on shortened time) (Ortiz, Arthur)
06/13/2018              (Entered: 06/13/2018 at 19:21:00)

                   57   Plaintiff's Motion for extension of amended complaint due date with
                        Notice of Hearing. Filed by Arthur E Ortiz on behalf of Christine Tavares
                        The Hearing date is set for 6/21/2018 at 09:30 AM at Judge Barreca's
                        Courtroom, U.S. Courthouse, Room 7106. Response due by 6/20/2018.
                        (Attachments: # 1 Declaration # 2 Exhibit A) (Ortiz, Arthur) (Entered:
06/13/2018              06/13/2018 at 19:30:35)

                   58   Received UNSIGNED Order Forwarded to Chambers for Judge's
                        Signature. Filed by Ortiz, Arthur. Related document 56 (Entered:
06/13/2018              06/13/2018 at 19:31:03)

                   59   Plaintiff's Affidavit // Certificate of Service ECF Inclusive. Proof of
                        Service. Filed by Arthur E Ortiz on behalf of Christine Tavares. (Ortiz,
06/13/2018              Arthur) (Entered: 06/13/2018 at 20:28:45)

                   60   Received UNSIGNED Order Forwarded to Chambers for Judge's
                        Signature. Filed by Ortiz, Arthur. Related document 57 (Entered:
06/13/2018              06/13/2018 at 22:04:03)

                   61   Submitted But Not Entered (Related document(s)57 Motion). (SRG)
06/14/2018              (Entered: 06/14/2018 at 11:50:02)

                   62   ORDER Granting Plaintiff's Motion for Order Shortening Time (Related
06/14/2018              Doc # 56) . (SRG) (Entered: 06/14/2018 at 12:03:13)

                   63   Proof of Service − Plaintiff's Affidavit / Proof of Service on AHFA
                        (Related document(s)57 Motion, 62 Order on Application). Proof of
                        Service. Filed by Arthur E Ortiz on behalf of Christine Tavares. (Ortiz,
                        Arthur) Wrong event used; no need to refile. Modified on 6/15/2018
06/14/2018              (DLP). (Entered: 06/14/2018 at 19:53:02)

                        Minutes. Order Submitted but not Entered. (related document(s): 57
                        Plaintiffs Motion for extension of amended complaint due date with
                        Notice of Hearing filed by Christine Tavares) (KEK) (Entered: 06/15/2018
06/15/2018              at 10:38:40)

                   64   Letter To and Subject: Request for Court's approval of phone appearance
                        (Related document(s)57 Motion). Filed by Arthur E Ortiz on behalf of
06/20/2018              Christine Tavares. (Ortiz, Arthur) (Entered: 06/20/2018 at 13:15:42)

                   65   Received UNSIGNED Order Forwarded to Chambers for Judge's
                        Signature. Filed by Ortiz, Arthur. Related document 57 (Entered:
06/21/2018              06/21/2018 at 08:02:02)
                                                                                                    9
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                   66   ORDER Granting Plaintiff's Motion for Extension of Time to File
                        Amended Complaint. Amended complaint is due July 26, 2018. (Related
06/21/2018              Doc # 57) . (MEH) (Entered: 06/21/2018 at 09:33:23)

                   67   Transcript regarding Hearing Held 06/07/2018 RE: Oral Ruling on Motion
                        to Dismiss Adversary Case before Marc Barreca. Remote electronic access
                        to the transcript is restricted until 09/25/2018. The transcript may be
                        viewed at the Bankruptcy Court Clerk's Office. Contact the Court
                        Reporter/Transcriber Marjie D Jackson, Telephone number Marjie Jackson
                        206−624−3005.. Notice of Intent to Request Redaction Deadline Due By
                        7/5/2018. Redaction Request Due By 07/18/2018. Redacted Transcript
                        Submission Due By 07/30/2018. Transcript access will be restricted
                        through 09/25/2018. (Transcriber − Strehlo, Bonnie) (Entered: 06/27/2018
06/27/2018              at 10:42:11)

                        Minutes. Hearing Held. Appearances: None. (related document(s): 41
                        Scheduling Order.: Status Conference continued to 08/02/2018 at 09:00
                        AM at Judge Barreca's Courtroom, U.S. Courthouse, Room 7106. (KEK)
07/19/2018              (Entered: 07/19/2018 at 09:44:23)

                   68       PDF with attached Audio File. Court Date & Time [ 7/19/2018 9:13:30
                        AM ]. File Size [ 942 KB ]. Run Time [ 00:02:37 ]. (admin). (Entered:
07/20/2018              07/20/2018 at 10:31:03)

                   69   Amend Complaint. Defendant not added. Defendants not added.
                        Amending: to comport to the oral ruling at Dkt. No. 55. (Related
                        document(s)1 Complaint). Proof of Service. Filed by Arthur E Ortiz on
                        behalf of Christine Tavares. (Attachments: # 1 Declaration # 2 declaration
                        # 3 Exhibit H # 4 Exhibit I # 5 Exhibit J # 6 Exhibit K # 7 Exhibit L # 8
                        Exhibit M # 9 Proof of Service Cert of Svc.) (Ortiz, Arthur) (Entered:
07/26/2018              07/26/2018 at 16:11:57)

                        Minutes. Status Conference Held 08/02/2018. Appearances: Arthur Ortiz
                        on behalf of Plaintiff, and Bankruptcy Trustees in Case Nos. 16−14901
                        and 16−15970 (related document(s): 41 Scheduling Order, 69 Amend
                        Complaint filed by Christine Tavares) Court will set a schedule, but will
                        not have a dispositive motion cut off sooner then late February; discovery
                        cut off will be prior to that (end of January). Court will prepare order.
08/02/2018              (SDU) (Entered: 08/07/2018 at 07:05:06)

                   70       PDF with attached Audio File. Court Date & Time [ 8/2/2018 9:08:15
                        AM ]. File Size [ 5127 KB ]. Run Time [ 00:14:14 ]. (admin). (Entered:
08/08/2018              08/08/2018 at 11:31:03)

                   71   Defendant's Motion to Dismiss Adversary Case with Notice of Hearing.
                        Filed by Stephen J Bumgarner on behalf of Alabama Housing Finance
                        Authority The Hearing date is set for 9/14/2018 at 09:30 AM at Judge
                        Barreca's Courtroom, U.S. Courthouse, Room 7106. Response due by
                        9/7/2018. (Attachments: # 1 Memorandum of Law in Support of Motion to
                        Dismiss Second Amended Complaint # 2 Exhibit Exhibit 1 # 3 Exhibit
                        Exhibit 2 # 4 Exhibit Exhibit 3 # 5 Exhibit Exhibit 4 # 6 Exhibit Exhibit 5
                        # 7 Exhibit Exhibit 6 # 8 Exhibit Exhibit 7 # 9 Exhibit Exhibit 8 # 10
                        Exhibit Exhibit 9 # 11 Exhibit Exhibit 10) (Bumgarner, Stephen) (Entered:
08/09/2018              08/09/2018 at 12:03:47)

08/30/2018         72   Pretrial Scheduling ORDER . (PBR) (Entered: 08/30/2018 at 11:06:11)

09/07/2018         73

                                                                                                      10
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                        Notice of Withdrawal of representation Filed by Arthur E Ortiz on behalf
                        of Christine Tavares. (Ortiz, Arthur) (Entered: 09/07/2018 at 13:57:14)

                   74   Notice of Appearance of special counsel Arthur Ortiz . Filed by Arthur E
                        Ortiz on behalf of The Estate of Edward Anzaldua, The Estate of Christine
09/07/2018              Tavares. (Ortiz, Arthur) (Entered: 09/07/2018 at 14:02:00)

                   75   Opposition Response to AHFA's (Related document(s)71 Motion to
                        Dismiss Adversary Case). Proof of Service. Filed by Arthur E Ortiz on
                        behalf of The Estate of Christine Tavares, The Estate of Edward Anzaldua.
                        (Attachments: # 1 Exhibit Declaration of Ortiz # 2 Exhibit A # 3 Exhibit B
09/07/2018              # 4 Exhibit C) (Ortiz, Arthur) (Entered: 09/07/2018 at 14:07:52)

                   76   Motion DEFENDANT'S UNOPPOSED NOTICE OF REQUEST FOR
                        CONTINUANCE Filed by Stephen J Bumgarner on behalf of Alabama
                        Housing Finance Authority (Bumgarner, Stephen) (Entered: 09/12/2018 at
09/12/2018              10:22:27)

                        Minutes.: (related document(s): 71 Motion to Dismiss Adversary Case
                        filed by Alabama Housing Finance Authority filed by Stephen J
                        Bumgarner.: Continued Hearing scheduled for 10/04/2018 at 09:30 AM at
                        Judge Barreca's Courtroom, U.S. Courthouse, Room 7106. (KEK)
09/12/2018              (Entered: 09/12/2018 at 15:15:42)

                   77   Notice of Hearing Notice to Court of Intent to Argue (Related
                        document(s)71 Defendant's Motion to Dismiss Adversary Case ). Filed by
                        Stephen J Bumgarner on behalf of Alabama Housing Finance Authority.
10/01/2018              (Bumgarner, Stephen) (Entered: 10/01/2018 at 12:02:43)

                   78   Reply In Support Of (Related document(s)71 Motion to Dismiss
                        Adversary Case). Proof of Service. Filed by Stephen J Bumgarner on
                        behalf of Alabama Housing Finance Authority. (Bumgarner, Stephen)
10/01/2018              (Entered: 10/01/2018 at 21:20:30)

                  79        PDF with attached Audio File. Court Date & Time [ 10/4/2018
                        10:51:16 AM ]. File Size [ 26740 KB ]. Run Time [ 01:14:17 ]. (admin).
10/04/2018              (Entered: 10/04/2018 at 14:02:07)

                        Minutes. Hearing Held. Appearances: Arthur Ortiz representing plaintiff;
                        Stephen J. Bumgarner and Lance Olsen representing defendant. (related
                        document(s): 71 Motion to Dismiss Adversary Case filed by Alabama
                        Housing Finance Authority filed by Stephen J Bumgarner.: Matter taken
                        under Advisement. Counsel will be notified with date and time of ruling.
                        Counsel may appear telephonically. (KEK) (Entered: 10/05/2018 at
10/04/2018              13:44:08)

                        Minutes. (related document(s): 71 Motion to Dismiss Adversary Case
                        filed by Alabama Housing Finance Authority filed by Stephen J
                        Bumgarner. : Oral Ruling scheduled for 10/23/2018 at 02:00 PM at Judge
                        Barreca's Courtroom, U.S. Courthouse, Room 7106. Parties may appear
10/04/2018              telephonically. (KEK) (Entered: 10/19/2018 at 11:55:36)

10/23/2018              Minutes. Oral Decision Rendered 10/23/2018. Telephonic Particpants:
                        Arthur Ortiz on behalf of Plaintiff; Stephen J. Bumgarner on behalf of
                        Defendant. (related document(s): 71 Motion to Dismiss Adversary Case
                        filed by Alabama Housing Finance Authority) Grant Defendant's Motion
                        to Dismiss with prejudice and without leave to amend. Order referencing
                        this oral ruling to be submitted by counsel for the Defendant. Motion

                                                                                                     11
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                       addressing both dissolving injunction and disposition of funds
                       forthcoming by Defendant. The motion can be scheduled in Seattle and
                       may be special set − but not on shortened time. Notice shall include
                       service on Debtor. If a stipulated order disposing of money is submitted,
                       all parties must sign the order including trustee(s) and Debtor. (SDU)
                       (Entered: 10/24/2018 at 08:02:30)

                  80       PDF with attached Audio File. Court Date & Time [ 10/23/2018
                       2:01:38 PM ]. File Size [ 12173 KB ]. Run Time [ 00:33:49 ]. (admin).
10/24/2018             (Entered: 10/24/2018 at 08:31:02)

                  81   Notice of Presentation of Order. Description: Order on Motion to Dismiss
                       . Filed by Stephen J Bumgarner on behalf of Alabama Housing Finance
                       Authority. Presentment to be held on 11/1/2018 at 12:45 PM at Judge
                       Barreca's Courtroom, U.S. Courthouse, Room 7106. (Attachments: # 1
                       Exhibit Proposed Order for Court's Consideration)(Bumgarner, Stephen)
11/01/2018             (Entered: 11/01/2018 at 11:40:56)

                  82   Received UNSIGNED Order Forwarded to Chambers for Judge's
                       Signature. Filed by Bumgarner, Stephen. Related document 80 (Entered:
11/06/2018             11/06/2018 at 16:31:02)

                       Audio CD Request. Hearing Date and Time: 10/23/2018 @2:00pm. Other
                       Info: Oral Ruling.. Requested by: Arthur Ortiz, representing the
                       bankruptcy trustees.. Please notify Bonnie Reed at 206−624−3005 or
                       info@rjwtranscripts.com when disk is ready.. (Transcriber − Strehlo,
11/07/2018             Bonnie) (Entered: 11/07/2018 at 10:24:46)

                  83   ORDER on Defendant's Motion to Dismiss Plaintiff's Second Amended
                       Complaint (Related document(s)71 Motion to Dismiss Adversary Case).
11/07/2018             Case Can Close: 11/28/2018. (PBR) (Entered: 11/07/2018 at 15:25:06)

                  84   Notice of Appearance . Filed by Christina L Henry on behalf of Christine
11/16/2018             Tavares. (Henry, Christina) (Entered: 11/16/2018 at 13:14:01)

                  85   Transcript regarding Hearing Held 10/23/2018 RE: Oral Ruling before
                       Judge Barreca. Remote electronic access to the transcript is restricted until
                       02/19/2019. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. Contact the Court Reporter/Transcriber Marjorie Jackson,
                       CET @ Reed Jackson Watkins Transcription, 206−624−3005, Telephone
                       number 206.624.3005 or jackson@rjwtranscripts.com.. Notice of Intent to
                       Request Redaction Deadline Due By 11/27/2018. Redaction Request Due
                       By 12/11/2018. Redacted Transcript Submission Due By 12/21/2018.
                       Transcript access will be restricted through 02/19/2019. (Transcriber −
11/20/2018             Strehlo, Bonnie) (Entered: 11/20/2018 at 13:38:54)

                  86   Motion to Reconsider Order of Dismissal with Notice of Hearing. Filed
                       by Arthur E Ortiz on behalf of Christine Tavares The Hearing date is set
                       for 12/20/2018 at 09:30 AM at Judge Barreca's Courtroom, U.S.
                       Courthouse, Room 7106. Response due by 12/13/2018. (Attachments: # 1
                       Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Proposed Order) (Ortiz, Arthur)
11/20/2018             (Entered: 11/20/2018 at 14:30:31)

                  87   Joint Notice of Hearing Stipulation of Continuance of Hearing (Related
                       document(s)86 Motion to Reconsider Order of Dismissal ). Filed by
                       Stephen J Bumgarner on behalf of Alabama Housing Finance Authority.
12/13/2018             (Bumgarner, Stephen) (Entered: 12/13/2018 at 13:03:32)


                                                                                                       12
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                       Minutes. (related document(s): 86 Motion to Reconsider filed by filed by
                       Arthur E Ortiz.: Continued Hearing scheduled for 01/04/2019 at 09:30
                       AM at Judge Barreca's Courtroom, U.S. Courthouse, Room 7106. (KEK)
12/14/2018             (Entered: 12/14/2018 at 10:39:44)

                  88   Motion Motion to Dissolve Injunction and For Disbursement of Funds on
                       Deposit with Notice of Hearing. Filed by Stephen J Bumgarner on behalf
                       of Alabama Housing Finance Authority The Hearing date is set for
                       1/4/2019 at 09:30 AM at Judge Barreca's Courtroom, U.S. Courthouse,
                       Room 7106. Response due by 12/28/2018. (Bumgarner, Stephen)
12/18/2018             (Entered: 12/18/2018 at 11:43:30)

                  89   Motion Amended Motion to Dissolve Injunction and For Disbursement of
                       Funds with Notice of Hearing. Filed by Stephen J Bumgarner on behalf of
                       Alabama Housing Finance Authority The Hearing date is set for 1/4/2019
                       at 09:30 AM at Judge Barreca's Courtroom, U.S. Courthouse, Room 7106.
                       Response due by 12/28/2018. (Bumgarner, Stephen) (Entered: 12/18/2018
12/18/2018             at 12:16:57)

                  90   ORDER Denying Motion for Reconsideration (Related Doc # 86) . (RQC)
12/21/2018             (Entered: 12/21/2018 at 15:50:12)

                       Notice to Court of Intent to Argue. Date of Hearing: 1/4/2018. Filed by
                       Lance E Olsen on behalf of Alabama Housing Finance Authority.
                       (Related document(s)86 Motion to Reconsider, 87 Hearing Notice,
                       Minutes Hearing Held, 89 Motion). (Olsen, Lance) (Entered: 12/28/2018
12/28/2018             at 10:27:49)

                  91   Notice of Presentation of Order. Description: Order on Motion to Dissolve
                       Injunction and Fund Disbursement . Filed by Stephen J Bumgarner on
                       behalf of Alabama Housing Finance Authority. Presentment to be held on
                       1/4/2019 at 09:30 AM at Judge Barreca's Courtroom, U.S. Courthouse,
01/02/2019             Room 7106. (Bumgarner, Stephen) (Entered: 01/02/2019 at 11:49:31)

                  92   Received UNSIGNED Order Forwarded to Chambers for Judge's
                       Signature. Filed by Bumgarner, Stephen. Related document 89 (Entered:
01/03/2019             01/03/2019 at 07:30:02)

                  93   ORDER on Defendant's Amended Motion to Dissolve Injunction and For
                       Disbursement of Funds (Related Doc # 89) . (RQC) (Entered: 01/03/2019
01/03/2019             at 11:47:46)

                  94   Letter To and Subject: Request for approval of telephonic appearance
                       (Related document(s)90 Order Re Motion to Reconsider). Filed by Arthur
                       E Ortiz on behalf of Courtesy NEF. (Ortiz, Arthur) (Entered: 01/03/2019
01/03/2019             at 11:49:32)

                  95   Letter From Chambers To: Arthur Ortiz granting permission to appear by
                       telephone at hearing. (Related document(s)86 Motion to Reconsider,
                       Minutes Hearing Held, 94 Letter from Attorney re Adversary Case).
01/03/2019             (VED) (Entered: 01/03/2019 at 13:15:52)

                       Minutes. Hearing Not Held. No Appearances. (related document(s): 88
                       Motion to Dissolve Injunction and For Disbursement of Funds on Deposit
                       filed by Stephen J Bumgarner.: Order entered. (KEK) (Entered:
01/04/2019             01/04/2019 at 08:43:58)

01/04/2019

                                                                                                   13
     Case 2:19-cv-00020-RAJ Document 1 Filed 01/08/19 Page 14 of 53



                        Minutes. Hearing Not Held. No Appearances. (related document(s): 91
                        Notice of Presentation of Order filed by Stephen J Bumgarner.: Order
                        entered on 1.3.19. (KEK) (Entered: 01/04/2019 at 08:44:49)

                  96        PDF with attached Audio File. Court Date & Time [ 1/4/2019 9:35:46
                        AM ]. File Size [ 2893 KB ]. Run Time [ 00:08:02 ]. (admin). (Entered:
01/04/2019              01/04/2019 at 11:02:02)

                        Minutes. Hearing Held. Appearances: Arthur E. Ortiz representing
                        plaintiff; Lance Olsen representing defendant. (related document(s): 86
                        Motion to Reconsider filed by Christine Tavares filed by Arthur E Ortiz.:
                        Substitution of parties is approved. (KEK) (Entered: 01/04/2019 at
01/04/2019              11:19:06)

                  97    Received UNSIGNED Order Forwarded to Chambers for Judge's
                        Signature. Filed by Ortiz, Arthur. Related document 90 (Entered:
01/04/2019              01/04/2019 at 16:02:02)

                  98    ORDER Granting Plaintiff's Motion for Substitution of Parties (Related
                        document(s)86 Motion to Reconsider). (RAO) (Entered: 01/04/2019 at
01/04/2019              16:39:07)

                  99    Notice of Appeal and Statement of Election to District Court.. Fee Due $
                        298 (Related document(s)90 Order Re Motion to Reconsider). Filed by
                        Arthur E Ortiz on behalf of Courtesy NEF. Record Transmission due by
                        02/1/2019, (Attachments: # 1 Exhibit A # 2 Exhibit B)(Ortiz, Arthur)
                        Internal Appeal #19−S001, USDC Appeal #19−CV−20RAJ. Modified on
01/04/2019              1/7/2019 (PBR). (Entered: 01/04/2019 at 16:46:37)

                        Receipt of filing fee for Notice of Appeal and Statement of
                        Election(18−01002−MLB) [appeal,ntcaplel] ( 298.00). Receipt number
                        25342546. Fee amount $ 298.00. (U.S. Treasury) (Entered: 01/04/2019 at
01/04/2019              16:49:25)

                  100   WAW internal appeal #: 19−S001. Bankruptcy Case #16−14901.
                        Adversary Case #18−01002−MLB . Date of Transmittal to USDC and
                        Service to Parties: 1/7/2019. Bankruptcy Judge: Marc L Barreca. Date
                        notice of appeal filed: 1/4/2019. Date of entry of order being appealed:
                        12/21/2018. Appeal filing fee paid: Yes. Date bankruptcy filed:
                        18−01002−MLB. Pro se parties: . Motion for leave to appeal: . Related
                        cross appeal(s): .

                        Notice of Transmittal of Appeal to USDC. A Notice of Appeal has been
                        filed by Arthur E Ortiz with the Clerk of the U.S. Bankruptcy Court. The
                        U.S. Bankruptcy Court has assigned an internal appeal number of
                        19−S001. Any further documents related to the appeal must include this
                        internal number. Refer to Fed. R. Bankr. P. 8006 and LBR 8006−1; Fed.
                        R. Bankr. P. 8009(b)(1) through (8). Transcript requests should be
                        directed to one of the Approved Transcription Agencies posted on the
                        court website at www.wawb.uscourts.gov. Note: a cross−appeal has its
                        own fee and will receive its own internal case number . (PBR) (Entered:
01/07/2019              01/07/2019 at 17:07:16)




                                                                                                    14
                 Case
             Entered on2:19-cv-00020-RAJ    Document 1 Filed 01/08/19 Page 15 of 53
                        Docket November 7, 2018
                                                    Below is the Order of the Court.


 1                                                  _______________________________
                                                    Marc Barreca
 2                                                  U.S. Bankruptcy Judge
                                                    (Dated as of Entered on Docket date above)
 3

 4

 5

 6
     ________________________________________________________________
                   IN THE UNITED STATES BANKRUPTCY COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8

 9   In re
10                                                       Bankruptcy Case No. 16-14901-MLB
     Christine Tavares,
11
           Debtor.
12   ______________________________________
13   Christine Tavares,
14             Plaintiff,                                Adversary Case No. 18-01002-MLB
15   -vs.-                                               ORDER ON DEFENDANT’S MOTION
                                                         TO DISMISS PLAINTIFF’S SECOND
16   Alabama Housing Finance Authority, a foreign        AMENDED COMPLAINT
     public corporation doing business in
17   Washington as ServiSolutions,
18             Defendant.
19

20             This matter came before the Court on Defendant Alabama Housing Finance Authority’s
21   (“Defendant”) Motion to Dismiss the Plaintiff Christine Tavares’ (“Plaintiff”) Second Amended
22   Complaint, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. (Dkt. No. 71).
23   Plaintiff is the Debtor in Bankruptcy Case No. 16-14901-MLB. Plaintiff’s Second Amended
24   Complaint asserts that the Defendant committed various bad acts in violation of the Washington
25   Consumer Protection Act, RCW ch. 19.86 et seq. (“CPA”). (Dkt. No. 69). The Second
26
     ORDER ON DEFENDANT’S MOTION TO DISMISS - 1




      Case 18-01002-MLB          Doc 83    Filed 11/07/18    Ent. 11/07/18 15:25:06              Pg. 1 of 2   15
              Case 2:19-cv-00020-RAJ Document 1 Filed 01/08/19 Page 16 of 53




 1   Amended Complaint alleges that the Defendant committed five (5) bad acts in violation of the

 2   CPA.

 3          On October 4, 2018, the Court heard oral argument on the Defendant’s Motion to

 4   Dismiss the Plaintiff’s Second Amended Complaint and, thereafter, took the matter under

 5   advisement. Having considered the relevant pleadings, the argument of counsel, the applicable

 6   legal authority, and being fully advised for these reasons, the Court issued its Oral Ruling (Dkt.

 7   No. 80) on the Defendant’s Motion to Dismiss the Second Amended Complaint on October 23,

 8   2018. For all the reasons detailed in the Court’s Oral Ruling (Dkt. No 80), which are expressly

 9   incorporated as set forth herein, the Court GRANTS the Defendant’s Motion to Dismiss.

10   Accordingly, it is hereby ORDERED that Plaintiff’s Second Amended Complaint is

11   DISMISSED WITH PREJUDICE, without leave to amend.

12          The Court will retain jurisdiction over the Plaintiff’s Adversary Proceeding for the

13   limited purposes of addressing whether to dissolve the temporary restraining order enjoining a

14   foreclosure sale of the underlying property as well as the distribution of the funds on deposit with

15   the Clerk of Court, U.S. District Court for the Western District of Washington (Seattle).

16

17

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19

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21

22                                           /// End of Order ///

23

24

25

26
     ORDER ON DEFENDANT’S MOTION TO DISMISS - 2




      Case 18-01002-MLB          Doc 83     Filed 11/07/18     Ent. 11/07/18 15:25:06       Pg. 2 of 2      16
             Case
         Entered on2:19-cv-00020-RAJ
                    Docket December 21, Document
                                        2018     1 Filed 01/08/19 Page 17 of 53
                                                      Below is the Order of the Court.

 1
                                                       _______________________________
 2                                                     Marc Barreca
                                                       U.S. Bankruptcy Judge
 3                                                     (Dated as of Entered on Docket date above)

 4
 5
 6
 7
     ________________________________________________________________
 8
                                UNITED STATES BANKRUPTCY COURT
 9                              WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
10
11    In re
12                                                  Bankruptcy Case No. 16-14901-MLB
      Christine Tavares,
13
14                            Debtor.

15                                                  Adversary No. 18-01002-MLB
      Christine Tavares
16
                              Plaintiff,
17                     v.                           ORDER DENYING MOTION FOR
                                                    RECONSIDERATION
18    Alabama Housing Finance Authority,
19                            Defendant.
20
              This matter came before me on Plaintiff’s motion for reconsideration (Dkt. No. 86, the
21
     “Motion for Reconsideration”), seeking reconsideration of my Order on Defendant’s Motion to
22
     Dismiss Plaintiff’s Second Amended Complaint (Dkt. No. 83).1
23
              I considered the pleadings and files herein pursuant to Federal Rule of Bankruptcy
24
     Procedure (“Fed. R. Bankr. P.”) 9023, Federal Rule of Civil Procedure (“Fed. R. Civ. P.”) 59(e),
25
26
              1
             Plaintiff did not comply with Local Bankruptcy Rule 9013-1(h) and Local Civil Rule
27   7(h). The motion should not have been noted for hearing. In accordance with the local rules, I
28   determine that a response from the Defendant is not necessary and I will therefore rule on the
     Motion for Reconsideration prior to the hearing date.

                                                 Page 1 of 3


      Case 18-01002-MLB           Doc 90    Filed 12/21/18      Ent. 12/21/18 15:50:12              Pg. 1 of 3   17
                Case 2:19-cv-00020-RAJ Document 1 Filed 01/08/19 Page 18 of 53



 1   Local Bankruptcy Rule for the Western District of Washington (“Local Bankruptcy Rule”) 9013-
 2   1(h) and Local Civil Rule for the U.S. District Court for the Western District of Washington
 3   (“Local Civil Rule”) 7(h).2
 4
 5          Standard for Reconsideration
 6          “The Bankruptcy Code does not contemplate motions for reconsideration; rather such
 7   motions are treated as motions to alter or amend judgment under Fed. R. Civ. P. 59(e), made
 8   applicable by Bankruptcy Rule 9023.” In re Ball, 2008 Bankr. LEXIS 4745, at *19 (9th Cir.
 9   B.A.P. 2008) (unpublished); see also In re America West Airlines, 240 B.R. 34 , 38 (Bankr. D.
10   Ariz. 1999). Local Bankruptcy Rule 9013-1(h) provides that Local Civil Rule 7(h) governs
11   motions for reconsideration. Local Civil Rule 7(h) provides that:
12          Motions for reconsideration are disfavored. The court will ordinarily deny such
            motions in the absence of a showing of manifest error in the prior ruling or a
13          showing of new facts or legal authority which could not have been brought to its
            attention earlier with reasonable diligence.
14
     Local Rules, W.D. Wash. CR 7(h)
15
16          Analysis
17          Plaintiff has not demonstrated manifest error in my prior ruling or provided a showing of
18   new facts or legal authority which could not have been earlier brought to my attention. In
19   general, Plaintiff reiterates the same arguments made on Defendant’s Motion to Dismiss (Dkt.
20   No. 71). In particular, Plaintiff does not point to any new facts or legal authority to suggest that
21   Defendant improperly denied the requested loan modification given the Federal Housing
22   Administration’s (“FHA”) guidelines on loss mitigation referenced in the complaint, which
23   require financial information for all borrowers.
24          Moreover, I recognize that Plaintiff was placed in a difficult position due to the alleged
25   no contact order between Plaintiff and Mr. Anzaldua. However, Plaintiff has not provided any
26
27          2
              I construe the instant Motion for Reconsideration to have arisen under Fed. R. Bankr. P.
28   9023. To the extent it could have been construed as a motion under Fed. R. Bankr. P. 9024, the
     analysis set forth herein is equally applicable.

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 1   new facts or legal authority to support the implied proposition that Defendant was required to
 2   ignore FHA guidelines in light of Plaintiff’s unique circumstances.
 3          NOW, THEREFORE, for the foregoing reasons, Plaintiff’s Motion for Reconsideration is
 4   DENIED.3
 5
 6                                         /// END OF ORDER ///

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27          3
               I do not address the motion for substitution of parties, which Plaintiff included with the
28   improperly noted Motion for Reconsideration. The parties may be heard on the motion for
     substitution at hearing on January 4, 2019.

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 6
      Arthur E. Ortiz, WSBA No. 26676
 7    Email: arthur@aeolegal.com
      The Law Office of Arthur E. Ortiz
 8    6015 California Ave. S.W., No. 203
      Seattle, WA 98136
 9    Tel.: (206) 898-5704

10                                IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE WESTERN DISTRICT OF WASHINGTON
11                                               AT SEATTLE
12
      In re
13
      CHRISTINE TAVARES, and
14    EDWARD ANZALDUA,                                         Bankruptcy Case No.s 16-14901-MLB
                                                                                    16-15970-MLB
15
                         Debtors,
16
      MICHAEL KLEIN, as Trustee for the                         Adversary Case No. 18-01002-MLB
17    Bankruptcy Estate of Edward Anzaldua, and
      DENNIS LEE BURMAN, as Trustee for the
18    Bankruptcy Estate of Edward Anzaldua
19                       Plaintiffs,
                                                                  NOTICE OF APPEAL
20                 vs.                                            AND STATEMENT OF ELECTION

21    ALABAMA HOUSING FINANCE AUTHORITY,
      a foreign public corporation doing business in
22    Washington as SERVISOLUTIONS

23                       Defendant

24

25

26      NOTICE OF APPEAL & ELECTION TO HAVE                             ARTHUR E. ORTIZ, ATTORNEY
                                                                         6015 CALIFORNIA AVE. S.W., NO. 203
        APPEAL HEARD BY U.S. DISTRICT COURT                                 SEATTLE , WASHINGTON 98136
                                                                     TEL 206-898-5704      arthur@aeolegal.com
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 1
                                                  NOTICE OF APPEAL
 2
              In their capacity as the trustees for the above mentioned bankruptcy estates, Mr. Michael
 3
      Klein and Mr. Dennis Lee Burman, plaintiffs, appeal under 28 U.S.C.§158(a)(1) from the Order
 4
      on Defendant's Motion to Dismiss Plaintiffs Second Amended Complaint (Dkt. No. 83), and the
 5
      order denying plaintiffs’ motion to alter the judgment under Rue 9023, (Dkt. No. 90) entered in
 6
      this adversary proceeding on December 21, 2018. A copy of both orders appealed from is
 7
      attached hereto at Exhibit A and B.1
 8
              The names of all parties to the final judgment and the names, addresses, and telephone
 9
      numbers of their respective attorneys are as follows:
10
            Defendant:                                          Defendant’s Counsel:
11          Alabama Housing Finance Authority                   Stephen J. Baumgarner, Pro Hac Vice
            7460 Halcyon Pointe Drive, Suite 200                Bar No. 2089M66S
12          Montgomery, AL 36117                                Maynard Cooper & Gale, P.C.
                                                                1901 Sixth Ave., N., Ste. 2400
                                                                Birmingham, AL 35203
13
                                                                Telephone: (205) 254-1000
14
            Defendant’s Counsel:                                Bankruptcy Counsel for the Tavares Estate:
15          Lance Olsen                                         Rory Livesay
            McCarthy Holthus                                    The Livesay Law Firm
            108 1st Ave. S., Ste. 300                           600 Stewart St., Ste. 1908
16          Seattle, WA 98104-2104                              Seattle, WA 98101
            Telephone: (206) 596-4843                           Telephone: (206) 441-0826
17
            Bankruptcy Counsel for the Anzaldua Estate:         Counsel for Debtor Christine Tavares:
18
            Peter H. Arkison                                    Christina Henry
            Law Offices of Peter H. Arkison                     Henry & DeGraaff, P.S.
19          103 E. Holly Street, Ste 502                        150 Nickerson St., Ste 311
            Bellingham, WA 98225-4728                           Seattle, WA 98109
20          Telephone: (360) 671-0300                           (206) 330-0595

21          Adv. Pro. Counsel for the Trustees:
            Arthur Ortiz
22          The Law Office of Arthur Ortiz
            6015 California Ave. S.W., No. 203
23          Seattle, WA 98136
            (206) 898-5704
24
      1        See FRBP 8002(b)(1)(A-B) the time to file an appeal runs 14 days from the entry disposing of the
25    last motion under Rule 8002 (b)(1)(A-D).

26      NOTICE OF APPEAL & ELECTION TO HAVE                                ARTHUR E. ORTIZ, ATTORNEY
                                                                            6015 CALIFORNIA AVE. S.W., NO. 203
        APPEAL HEARD BY U.S. DISTRICT COURT                                    SEATTLE , WASHINGTON 98136
                                                                        TEL 206-898-5704      arthur@aeolegal.com
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 1
                                        STATEMENT OF ELECTION
 2
             The Plaintiff Bankruptcy Trustees, Messrs. Klein and Burman, elect to have said Appeal,
 3
      from the bankruptcy Court’s orders dismissing the adversarial proceeding, heard and decided by
 4
      the District Court rather than by the Bankruptcy Appellate Panel. Such election is made pursuant
 5
      to 28 U.S.C. §158(c)(1)(B) and BR 8001. This adversarial proceeding originated as a lawsuit in
 6
      District Court with cause number C17-1599-MJP.
 7

 8
             Dated this 4th day of January, 2019
 9
                                          The Law Office of Arthur Ortiz
10

11

12
                                          Arthur E. Ortiz, WSBA No. 26676
13                                        Adv. Pro. Counsel for the Trustees
14

15

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25

26      NOTICE OF APPEAL & ELECTION TO HAVE                         ARTHUR E. ORTIZ, ATTORNEY
                                                                     6015 CALIFORNIA AVE. S.W., NO. 203
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                                                                 TEL 206-898-5704      arthur@aeolegal.com
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 1
                                           CERTIFICATE OF SERVICE
 2
             I hereby certify that on the fourth day of January, 2019, I caused to be electronically filed
 3
      the foregoing PLAINTIFFS’ NOTICE OF APPEAL AND STATEMENT OF ELECTION with the
 4
      Clerk of the Court using the CM/ECF System which will send notification of such filing to the
 5
      following:
 6
            Stephen J. Baumgarner, Pro Hac Vice              Lance Olsen
 7          Bar No. 2089M66S                                 McCarthy Holthus
            Maynard Cooper & Gale, P.C.                      108 1st Ave. S., Ste. 300
 8          1901 Sixth Ave., N., Ste. 2400                   Seattle, WA 98104-2104
            Birmingham, AL 35203                             Telephone: (206) 596-4843
 9          Telephone: (205) 254-1000                        Facsimile: (206) 780-6862
            sbumgarner@maynardcooper.com                     Attorney for defendant, Alabama Housing
            Of Counsel for defendant, Alabama Housing        Finance Authority, d.b.a ServiSolutions
10          Finance Authority, d.b.a ServiSolutions

11
            Rory Livesay                                     Peter H. Arkison
            The Livesay Law Firm                             Law Offices of Peter H. Arkison
12
            600 Stewart St., Ste. 1908                       103 E. Holly Street, Ste 502
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13          Telephone: (206) 441-0826                        Telephone: (360) 671-0300
            rory@liveslaw.com                                peter@arkison.com
14          Attorney for the Estate of Christine Tavares     Attorney for the Estate of Edward Anzaldua

15          Christina Henry
            Henry & DeGraaff, P.S.
16          150 Nickerson St., Ste 311
            Seattle, WA 98109
17          (206) 330-0595
            chenry@hdm-legal.com
18          Attorney for Debtor, Christine Tavares

19           I declare the foregoing is true and correct.

20                   DATED this 4th day of January, 2019 in Seattle, King County, Washington.

21

22

23
                     Arthur E. Ortiz, WSBA No. 26676
24                   Adv. Pro. Counsel for the Trustees

25

26      NOTICE OF APPEAL & ELECTION TO HAVE                            ARTHUR E. ORTIZ, ATTORNEY
                                                                        6015 CALIFORNIA AVE. S.W., NO. 203
        APPEAL HEARD BY U.S. DISTRICT COURT                                SEATTLE , WASHINGTON 98136
                                                                    TEL 206-898-5704      arthur@aeolegal.com
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                                    Exhibit A

             Order on Defendant’s Motion to Dismiss, entered November 7, 2018.

             Oral Ruling on Defendant’s Motion to Dismiss, of October 23, 2018.




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                                                                                 1

 1                          UNITED STATES BANKRUPTCY COURT

 2                  FOR THE WESTERN DISTRICT OF WASHINGTON

 3    ---------------------------------------------------------------

 4    In re:

 5    CHRISTINE G TAVARES,                 Case No. 16-14901-MLB

 6             Debtor.                     Adversary Case No. 18-01002-MLB

 7

 8    CHRISTINE TAVARES,

 9             Plaintiff,

10     v.

11    ALABAMA HOUSING FINANCE

12    AUTHORITY,

13             Defendant.

14

15                                     ORAL RULING

16                                 October 23, 2018

17                    The Honorable Marc Barreca Presiding

18

19

20

21

22

23    Transcribed by:       Marjorie Jackson, CET

24                          Reed Jackson Watkins, LLC

25                          206.624.3005


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 1                              A P P E A R A N C E S

 2

 3

 4    ON BEHALF OF THE TRUSTEE FOR THE ESTATES OF ANZALDUA AND

 5    TAVARES:

 6    ARTHUR E. ORTIZ

 7    Law Office of Arthur Ortiz

 8    6015 California Avenue SW, No. 203

 9    Seattle, Washington 98136

10

11    ON BEHALF OF ALABAMA HOUSING FINANCE AUTHORITY:

12    STEPHEN J. BUMGARNER

13    Maynard Cooper and Gale

14    1901 Sixth Ave North

15    2400 Regions/Harbert Plaza

16    Birmingham, Alabama 35203

17

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 1                                           -o0o­

 2                                  October 23, 2018

 3

 4           MR. ORTIZ:        Judge, this is Arthur Ortiz representing the

 5       trustee for the estates of Anzaldua and Tavares.

 6           MR. BUMGARNER:        Your Honor, Steven Bumgarner for Alabama

 7       Housing Finance Authority.

 8           THE COURT:        Excellent.    And this is the time I have set

 9       to announce my decision on the current motion to dismiss by

10       Alabama Housing Finance Authority in Tavares vs. Alabama

11       Housing, 18-1002.         I am going to read the ruling straight

12       through, and then I want to have some colloquy at the end

13       about some remaining issues.

14           This matter is before me on Defendant's Third Motion to

15        Dismiss pursuant to FRCP 12(b)(6).             Plaintiff is the debtor

16       in Bankruptcy Case No. 16-14901.

17           Plaintiff's Seconded Amended Complaint at Docket No. 69

18       asserts that Defendant engaged in various bad acts in

19       violation of the Washington Consumer Protection Act under

20       RCW 19.86, et seq, hereafter the "CPA."

21           The second amended complaint alleges the following five

22       bad acts:

23           (1)    Defendants failed to "timely use its partial claim

24       against FHA's mutual mortgage insurance," and "apply

25       proceeds to cure Plaintiff's default."



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 1           (2)    Defendant evaded a "real review" of Plaintiff's

 2       application for a loan modification.

 3           (3)    Defendant misled Plaintiff with conflicting

 4       directives regarding whether her ex-boyfriend needed to sign

 5       a quitclaim deed.

 6           (4)    Defendant discouraged the use of an HUD-approved

 7       housing counselor, and;

 8           (5)    Defendant failed to account for Plaintiff's monthly

 9       child support payments in its income calculation.

10           It appears that the second and fifth alleged bad actions

11       are substantially similar, as they both involve Defendant's

12       failure to incorporate Plaintiff's child support income into

13       its calculations.       I consolidate these two allegations in my

14       analysis.

15           I heard oral argument on October 4, 2018 and took the

16       matter under advisement.          Having considered the relevant

17       pleadings and the arguments of counsel and otherwise being

18       fully advised, I grant the motion to dismiss with prejudice.

19           Jurisdiction.

20           28 U. S. C. Section 157 (c) (1) provides that the Bankruptcy

21       Court "may hear a proceeding that is not a core proceeding

22       but that is otherwise related to a case under Title 11. "                     A

23       proceeding is related to a bankruptcy when the outcome of

24       the proceeding could conceivably affect the estate being

25       administered in bankruptcy.            See In Re Marshall 600 F. 3d



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 1       1037 , 1055 (9th Cir. 2010) .

 2           Arthur Ortiz, former counsel for Plaintiff and current

 3       counsel for the bankruptcy trustees of the Christine Tavares

 4       and Eduardo Anzaldua estates asserts that the cause of

 5       action set forth in the second amended complaint is property

 6       of both bankruptcy estates and that any future recovery will

 7       benefit them.         I therefore have related-to jurisdiction over

 8       the subject matter of this adversary proceeding pursuant to

 9       28 U. S. C. Section 157 (c) and 1334.

10           Neither party has objected to my rendering a final

11       adjudication on this motion to dismiss or the defendant's

12       prior motion to dismiss.           I construe this as consent to

13       final adjudication at least for purposes of this motion to

14       dismiss.

15           Moreover, even in a non-core proceeding, bankruptcy

16       courts may issue final rulings on pretrial matters including

17       claim-dispositive motions that do not require factual

18       findings.     See Solution Trust v. 2100 Grand, LLC, 547 B. R.

19       831, 839 (Bankr. C. D. Cal. 2016) , citing Executive Benefits

20       Ins. Agency v. Arkison, 134 S. Ct. 2165 (2014) .

21           Standing.

22           Federal Rule of Civil Procedure 17 (a) (1) provides that,

23       "An action must be prosecuted in the name of the real party

24       in interest."         After filing a Chapter 7 bankruptcy petition,

25       a debtor may not prosecute a cause of action belonging to an



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 1       estate because the bankruptcy trustee is the real party in

 2       interest with respect to such claims.               See Cobb vs. Aurora

 3       Loan Services, LLC, 408 B. R. 351, 354 (E. D. Cal. 2009) .

 4       Based on Counsel's assertion that the causes of action are

 5       property of the bankruptcy estate -- that's Plaintiff's

 6       counsel's assertion; although now apparently is representing

 7       the trustees.         There isn't a named plaintiff, but regardless

 8       of that I think that the counsel acting originally for Ms.

 9       Tavares and now assertedly acting for the trustees has the

10       ability to bind the original plaintiff.

11           Plaintiff lacks standing to prosecute this lawsuit.

12           Federal Rule of Civil Procedure 17 (a) (3) provides that a

13       court may not dismiss an action for failure to name the real

14       party in interest until after an objection and a reasonable

15       time has been allowed for the real party in interest to be

16       joined or substituted.          Although I would ordinarily allow

17       for substitution of the real party in interest, here I will

18       not do so because I am otherwise dismissing the claims on

19       their merits without leave to amend.

20           Factual allegations.

21           The second amended complaint sets forth the following

22       factual allegations:

23           In March 2014, Plaintiff and her then-domestic partner,

24       hereafter the "co-borrower, " purchased a home located at

25       47 04 Mount Baker Loop, Mount Vernon, Washington, financing



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 1        it through an FHA-insured loan.            Plaintiff and the

 2        co-borrower made timely payments during the following year.

 3        In late 2015 after allegations that the co-borrower sexually

 4        abused one of Plaintiff's daughters, the co-borrower moved

 5        out of the house but continued to make payments until

 6        approximately April of 2016 when he began paying monthly

 7        child support instead.

 8            In June 2016, Plaintiff became burdened by credit card

 9        debt.     She attempted to make a partial payment and which

10        Defendant refused to accept.           Around that same time, she

11        contacted Defendant requesting a loan modification.

12        Defendant told Plaintiff that if the co-borrower was no

13        longer a resident borrower, the co-borrower would need to

14        sign a quitclaim deed in order for the loan modification to

15        be processed.

16            On September 26, 2016, Plaintiff filed a Chapter 7

17        bankruptcy petition.        In May 2017, after granting Defendant

18        relief from stay, Plaintiff engaged a housing counselor to

19        help her apply for a loan modification.               Defendant

20        discouraged her use of housing counselors and told her it

21        would be much easier to obtain a loan modification without

22        the "middleman."

23           Nevertheless, Plaintiff continued to use a housing

24        counselor and on June 15, 2017, submitted a completed

25        application.     Defendant "never responded to the application



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 1        other than to deny the use of child support in the

 2        calculation of Ms. Tavares's income. "

 3           The second amended complaint further provides that but

 4        for the denial of the child support income, Plaintiff would

 5        have qualified for the HAMP loan modification.

 6           Again, on September 6, 2017, Plaintiff submitted a second

 7        application to modify her loan, which was denied in a letter

 8        dated October 3, 2017 .

 9            Procedural background.

10            In November 2016, I granted Defendant's uncontested

11        motion for relief from stay.

12           In October 2017 , Defendant pursued a nonjudicial

13        foreclosure, and Plaintiff filed a lawsuit in District

14        Court, seeking both an injunction prohibiting the sale and

15        the recovery of damages.

16           After defendant filed a motion to dismiss, Judge Pechman

17        granted Plaintiff leave to amend and referred the case to

18        this bankruptcy court for all pretrial proceedings.

19           After receiving the referral from Judge Pechman,

20        Defendant again moved the Court for dismissal.                 I granted

21        Defendant's Motion to Dismiss and granted Plaintiff her

22        second opportunity to amend her complaint.

23           Facts not in the complaint.

24           Defendant attaches several exhibits in support of its

25        motion to dismiss which raise factual assertions not



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 1        specifically referenced in or attached to the second amended

 2        complaint.      Defendant submits the October 3rd, 2017 letter

 3        denying Plaintiff's application for a loan modification,

 4        hereafter the "denial letter, " Docket No. 7 1 at Exhibit 8.

 5        Paragraph 5 of the denial letter provides, "HAMP loan

 6        modification with partial claim:             Requires that the

 7        $2, 134. 48 HAMP payment at $89, 921. 44 max claim not exceed 40

 8        percent of the $5, 122. 50 gross income.             The payment exceeds

 9        the gross by 41. 67 percent and results in $203. 89 negative

10        surplus.     This program also requires all borrower income and

11        clear title. "

12           Defendant also supports the motion to dismiss with

13        reference to page 599 of the FHA Single Family Housing

14        Policy Handbook, hereafter the "FHA Handbook, " which

15        provides.

16           "Borrower Income:         For purposes of a loss mitigation

17        analysis, borrower income must include:

18           "- The income of each borrower who is occupying or not

19        occupying the property; and. "           See Docket No. 7 1 at

20        Exhibit 9.

21           Although neither the denial letter nor the FHA Handbook

22        appear in the second amended complaint, Plaintiff does

23        reference them in her pleading.             The plaintiff refers to the

24        denial letter on page 6 and 9 of the second amended

25        complaint, citing the letter for the proposition that her



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 1        application for a loan modification was wrongfully denied.

 2        Plaintiff refers to pages 600, 601, 619, 626, 627 in the FHA

 3        Handbook, citing it for the proposition that she satisfies

 4        the FHA guidelines for a loan modification and that

 5        therefore denial of her application under HAMP was unfair.

 6            In the Ninth Circuit, documents whose contents are

 7        alleged in a complaint and whose authenticity no party

 8        questions but which are not physically attached to the

 9        pleading may be considered in ruling on a Rule 12(b)(6)

10        motion to dismiss.         Such consideration does not convert the

11        motion to dismiss into a motion for summary judgment.                     See

12        Branch vs. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994),

13        overruled on other grounds by Galbraith vs. County of Santa

14        Clara, 307 F.3d 1119 (9th Cir. 2002).               See also In Re

15        Dufrane, 566 B.R. 28 at 33 (Bankr. C.D. Cal. 2017}.

16           Here, the second amended complaint refers to the denial

17        and the eligibility requirements cited in the FHA Handbook.

18        The authenticity of these documents are not in question, and

19        they are central to Plaintiff's claim.               Accordingly, I will

20        treat the documents as part of the second amended complaint.

21            Law and analysis.

22           Rule 12(b)(6) provides that a complaint must be dismissed

23        if it fails to state a claim upon which relief can be

24        granted.     In order to survive a motion to dismiss for

25        failure to state a claim, a party must allege "sufficient



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 1        factual matter accepted as true to state a claim to relief

 2        that is plausible on its face."             Ashcroft vs. Iqbal, 556

 3        U.S. 662, 678 (2009).         "A claim has facial plausibility when

 4        the plaintiff pleads factual content that allows the court

 5        to draw the reasonable inference that the defendant is

 6        liable for the misconduct alleged."              Id.    "In reviewing a

 7        dismissal for failure to state a claim, all well-pleaded

 8        allegations of material fact in the complaint are accepted

 9        as true and construed in the light most favorable to the

10        non-moving party."        In Re Fitness Holdings International,

11        714 F.3d 1141, 1144-45 (9th Cir. 2013).

12            CPA.

13           Plaintiff asserts that Defendant violated the CPA as a

14        result of various bad acts in connection with her attempt to

15        modify her loan.        In order to recover under the CPA, a

16        plaintiff must prove:

17           "(l)     An unfair or deceptive act or practice;

18           "(2)     Occurring in trade or commerce;

19           "(3)     A public interest impact;

20           "(4)     Injury to plaintiff in his or her business or

21        property, and;

22           "(5)     Causation."

23            Hangman Ridge Training Stables vs. Safeco Title Insurance

24        Company, 105 Wn.2d 778, 780 (1986).              I will address each of

25        Defendant's alleged bad acts independently.



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 1            (1)   Failure to apply mortgage insurance proceeds.

 2        Plaintiff asserts the Defendant failed to "use its partial

 3        claim against FHA's mutual mortgage insurance" and that

 4        Defendant failed to cure Plaintiff's default by not applying

 5        insurance proceeds.        Beyond these conclusory allegations,

 6        the only other mention of mortgage insurance is in

 7        footnote 1 on page 4 of the second amended complaint in

 8        which Plaintiff attempts to explain how FHA mortgage

 9        insurance works.

10           Plaintiff asserts that Defendant could have applied the

11        proceeds of a partial claim to reinstate Plaintiff's loan,

12        but she does not plead facts which would allow a reasonable

13        inference that Defendant had an obligation to do so, that

14        Defendant had the ability to make the claim or that

15        Defendant's actions resulted in injury to the plaintiff.

16           Furthermore, it appears Plaintiff would not have

17        qualified for a HAMP loan modification with a partial claim,

18        given the program's requirement that the applicant provide

19        documentation for all borrowers' income.               See Beach vs.

20        Sec'y of HUD, 2018 U.S. Dist. LEXIS 53964 at 6-7, (S.D. Ohio

21        Mar. 30, 2018), discussing partial claims under FHA-insured

22        mortgages and explaining that under CFR Section 203.37l(c)

23        the borrower must execute a mortgage in favor of HUD with

24        terms and conditions acceptable to HUD for the amount of the

25        partial claims.      See also excerpt from the FHA Handbook at



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 1        page 599, "For purposes of a loss mitigation analysis,

 2        including FHA-HAMP loan modifications with partial claims,

 3        borrower income must include all occupant and non-occupant

 4        borrowers. "    See also denial letter at paragraph 4, "This

 5        program also requires income from all occupant/non-occupant

 6        borrowers on the note. "        And paragraph 5, "This program also

 7        requires all borrower income and clear title. "

 8           (2)    Quitclaim deed.

 9           Plaintiff asserts that Defendant misled Ms. Tavares with

10        conflicting directives regarding whether the co-borrower

11        needed to sign a quitclaim deed.            However, Plaintiff fails

12        to allege facts that would show any injury or damages.                       Even

13        if it's true that Defendant misled Plaintiff, it's unclear

14        what effect, if any, the misdirection had on Plaintiff's

15        application, as the requested loan modification was not

16        denied for failure to obtain the quitclaim deed, but rather

17        it was denied for other reasons set forth in the denial

18        letter.

19           (3)    Use of a housing counselor.

20            Plaintiff asserts that Defendant conducted a deceptive or

21        unfair bad act by discouraging the use of HUD-approved

22        housing counselors.        Despite this allegation, Plaintiff

23        nonetheless used a housing counselor to submit her

24        application.     Plaintiff pleads no other facts in the second

25        amended complaint which would indicate any harm or injury



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 1        caused from this alleged action.

 2           (4)     Denial of the loan modification.

 3            Plaintiff generally asserts that the defendant violated

 4        the CPA by denying her modification requests when she

 5        otherwise met the requirements for loan modification under

 6        HAMP.     More specifically, Plaintiff asserts that Defendant

 7        should have incorporated child support payments into its

 8        income calculation and that Defendant further erred by

 9        requiring financial information from the co-borrower as part

10        of the application.

11           Courts have consistently held that HAMP does not create a

12        private right of action.         See McAfee vs. Select Portfolio

13        Servicing, Inc. 193 Wn. App. 220, 231-32 (2016) , citing

14        cases.     The court in McAfee affirmed dismissal of a

15        complaint for failure to state a claim, holding that denial

16        of a loan modification even in violation of HAMP does not

17        create a cause of action under the CPA.               (Id. at 232) .

18           However, the denial of a loan modification in violation

19        of HAMP could constitute an unfair or deceptive act as long

20        as it is otherwise unfair or deceptive.               See Syed v. Bank of

21        America, 2016 WL 917 5632 at 4 (W. D. Wash. Nov. 22, 2016) .

22           A defendant's act or practice is deceptive if it "has a

23        capacity to deceive a substantial portion of the public. "

24        Hangman Ridge, 105 Wn. 2d at 7 85.

25           Furthermore, a defendant's act or practice is not



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 1        deceptive unless it involves "a representation, omission or

 2        practice that is likely to mislead a reasonable consumer. "

 3        Panag vs. Farmers Ins. Co. of Wash. , 166 Wn. 2d 27 at

 4        50 S. Ct. (2009) .

 5           The CPA does not define what it means for an act to be

 6        unfair.    A defendant's act or practice may be unfair if it

 7        "offends public policy as established by statutes or common

 8        law or is unethical, oppressive or unscrupulous. "                 Klem vs.

 9        Washington Mutual Bank, 17 6 Wn. 2d 7 7 1, 7 87 (2013) .

10           In the second amended complaint, Plaintiff cites the FHA

11        guidelines which provide that a mortgagee "must require

12        borrowers who want to retain the property and who have

13        sufficient surplus income and/or assets to reinstate the

14        mortgage through a repayment strategy. "

15            Plaintiff also cites page 601 of the FHA Handbook in

16        support of the proposition that child support payments

17        should have been included in Defendant's income calculation.

18        However, on page 599, the handbook provides "for purposes of

19        a loss mitigation analysis, borrower income must include the

20        income of each borrower who is occupying or not occupying

21        the property. "      Consistent with the requirements outlined in

22        the FHA Handbook, the denial letter states that Plaintiff's

23        application for all HAMP programs were rejected in part for

24        failure to provide income from all borrowers.

25           To the extent Plaintiff is correct that child support



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 1        income should be counted while processing HAMP applications,

 2        it appears to be irrelevant because of her failure to comply

 3        with other provisions required under HAMP under the

 4        guidelines.

 5           As a result, Plaintiff's complaint fails to state facts

 6        that, as a matter of law, would be unfair or deceptive.                        The

 7        denial did not constitute an act or omission that was likely

 8        to mislead a reasonable consumer, nor was the action

 9        unethical, oppressive or unscrupulous.               The defendant merely

10        rejected an application for a loan modification after

11        Plaintiff defaulted on the loan.             It did not provide the

12        requisite financial information as required by the FHA

13        guidelines.      Plaintiff has therefore failed to adequately

14        plead facts that would suggest the denial of the loan

15        modification was unfair or deceptive under the CPA.

16           In sum, none of the five alleged bad acts in the second

17        amended complaint plausibly assert a cause of action under

18        the CPA.     I therefore grant Defendant's motion to dismiss.

19           Leave to amend.

20           If a complaint is found to be deficient, the Court may

21        permit the Plaintiff to amend it.              The Federal Rules of

22        Civil Procedure state that leave to amend "shall be freely

23        given when justice so requires. "            FRCP 15(a) (2) .      "The

24        decision of whether to grant leave to amend nevertheless

25        remains with the discretion of the court, which may deny



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 1        leave to amend due to undue delay, bad faith or dilatory

 2        motive on the part of the movant, repeated failure to cure

 3        deficiencies by amendments previously allowed, undue

 4        prejudice to the opposing party by virtue of allowance of

 5        the amendment, and futility of amendment."                Leadsinger, Inc.

 6        vs. BMG Music Publishing, 512 F.3d 522, 532 (9th Cir. 2008) .

 7           Here, there does not appear to be undue delay, bad faith

 8        or dilatory motives on behalf of the plaintiff.                   There has,

 9        however, been repeated failures to cure deficiencies as this

10        is Plaintiff's third complaint.

11           Furthermore, Defendant will experience undue prejudice if

12        further amendment to the complaint is allowed because a

13        temporary restraining order preventing foreclosure remains

14        in place until this proceeding is concluded.                   Therefore,

15        Defendant can neither move forward with foreclosure

16        presently by the continuation of this lawsuit or access

17        payments in lieu of the time value of that delay.

18           Lastly and most importantly, further amendment to the

19        complaint appears to be futile.            It does not appear that

20        Plaintiff will be able to amend her complaint to

21        sufficiently state a claim as the facts are unlikely to

22        support a viable cause of action under the CPA.

23           The crux of Plaintiff's argument is that Defendant

24        unfairly denied her loan modification and that Defendant

25        failed to reinstate the loan by making a partial claim for



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 1        FHA insurance.       It is unclear how these actions could

 2        support a cause of action under the CPA when the denial of

 3        the HAMP loan modification with a partial claim appears to

 4        be consistent with FHA guidelines and the injury appears to

 5        be solely caused by Plaintiff's own default under the loan.

 6        For these reasons, I decline to allow Plaintiff to amend the

 7        complaint.

 8           Conclusion.

 9           In sum, I grant Defendant's motion to dismiss with

10        prejudice and without leave to amend.              Counsel for the

11        defendant should submit an order referencing this oral

12        ruling.

13           And now we need to discuss what happens next.                  Having

14        dismissed the remaining claim without leave to amend, I

15        believe the only further issues that need to be addressed in

16        the lawsuit have to do with the injunction that is otherwise

17        still in place and the funds that have been deposited into

18        the registry of the District Court.

19           So I will take suggestions on how to proceed, but my

20        initial thought is that Defendant ought to make a motion for

21        me to strike the injunction.           Because it's been referred

22        down to me, I can deal with the injunction while it is still

23        in this court's hands.         Similarly, I can deal with the

24        disposition of funds even though it's in the registry of the

25        District Court rather than in the bankruptcy court.                   So I



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 1        would think Defendant should bring a motion on both matters,

 2        but if there is a more efficient or better way to proceed, I

 3        am all ears.

 4           So let me turn to Defendant's counsel first.

 5           MR. BUMGARNER:         Thank you, Your Honor.          Yes, my thought

 6        would be to file with the Court, requesting the Court that

 7        it dissolve the current injunction.               And then in connection

 8        with that, request that the clerk of the court be directed

 9        to distribute the moneys on deposit to the defendant.

10           THE COURT:         Mr. Ortiz, any alternative thoughts on the

11        most efficient way to deal with that procedurally.

12           MR. ORTIZ:         In the past, I dealt with it with stipulated

13        motions.     I don't know if that would speed things up.                   But I

14        am going to have to talk to my client first to give a

15        definitive answer, but, yeah, there's a number of ways of

16        doing that.

17           THE COURT:         Yeah.   But you're probably going to have to

18        communicate with your former client and her counsel, as

19        well, correct?         Because it's her money.

20           MR. ORTIZ:         Correct.    And Ms. Henry          Christina Henry is

21        in a trial this week, so I am going to have to wait until

22        next week to get her full attention on this.

23           THE COURT:         I wasn't thinking this would be on shortened

24        time, so here's what we're going to do, is I will not set -­

25        we have been having all of the hearings in Seattle, have we



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 1        not, not in Marysville, even though this is a Marysville

 2        bankruptcy case?

 3           MR. ORTIZ:        Correct.

 4           THE COURT:        I think we will continue with that just for

 5        the convenience of the parties.              I don't remember if I have

 6        anything on the docket that firms that up, but if I don't

 7        we'll put something on the docket that makes it clear that

 8        the motion can be set in Seattle.               But then I will just

 9        await an appropriate motion set on the regular local rules

10        timing, so, therefore, for a Thursday -- a run of my regular

11        omnibus Thursday Seattle calendars, addressing both

12        dissolving the injunction and disposition of the funds.                         If

13        the parties then end up stipulating in the meantime and I

14        have all parties signing off on it -- although in this case

15        I would also need the trustees to sign off on it because

16        they have never been joined as Parties-Plaintiff -- if I

17        have a stipulated order disposing of that money, I am going

18        to need to see that everybody around the table, including

19        the two trustees and the debtor, has signed off on it

20        besides Alabama Housing.

21           MR. BUMGARNER:        Thank you, Your Honor.           I will make sure

22        that everybody is on board.

23           THE COURT:        All right.        And I guess that would go for

24        service of the motion, too.             You sort of have this odd state

25        of affairs where had the case gone forward, I would have



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 1        allowed a substitution of parties, but regardless of whether

 2        that had occurred already or not, parties that are entitled

 3        to receive notice would include the debtor, now represented

 4        by Ms. Henry.         I think that it's just safer from a due

 5        process standpoint if Mr. Ortiz and Ms. Henry receive notice

 6        of your motion.

 7           MR. BUMGARNER:         Understood, Your Honor.

 8           THE COURT:         Has Ms. Henry filed a request for notice in

 9        this proceeding?

10           MR. ORTIZ:         I believe there was -- well, we were in the

11        process of her appearing in the adversarial proceeding.                         I

12        believe in the Tavares bankruptcy case she did appear.

13           THE COURT:         So if she's appeared, I think that I will

14        consider the notice to her as opposed to Ms. Tavares is

15        going to be adequate.          Under the gray situation we're in,

16        even though notice to Mr. Ortiz should be -- he is the only

17        one that has appeared for the Plaintiff in the case, because

18        nobody substituted in, I think it leaves it a little

19        unclear.     Is she actually pro se, as we speak, in this

20        proceeding?      To the extent she still has an interest in the

21        proceeding, she surely still has an interest in the

22        proceeding as it relates to the money that's being paid into

23        the registry.

24           So if we don't have a clear record that Ms. Henry has

25        appeared in this adversary proceeding, you're going to have



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 1        to serve Ms. Tavares as well.

 2             MR. ORTIZ:      I can save Mr. Bumgarner the trouble.               I am

 3        literally waiting for a signature.               But, like I said,

 4        Ms. Henry is involved in a trial this week.                  So given some

 5        time, I can save Mr. Bumgarner the trouble and get an

 6        appearance from Ms. Henry in this proceeding, meaning the

 7        adversary proceeding.

 8             THE COURT:      All right.        I am looking at my calendar.

 9        It's the 23rd.        Then I don't have a calendar on the 25th, do

10        I?    Well, if the parties can't stipulate, I guess I have one

11        concern, which is, it's going to be too soon to get it on my

12        Seattle calendar for the 8th of November.                 That's not enough

13        time.     Because of Thanksgiving week, I do not have another

14        Seattle regular scheduled calendar until December 6th.

15             MR. ORTIZ:      I think it's December 6th.

16             THE COURT:      Right.   So if for some reason you believe

17        that waiting until December 6th for a final disposition of

18        this, if it's not an earlier agreed disposition, is too

19        long, contact my chambers and I will give you a special set.

20        So I am not inclined to shorten time, but because of the

21        lack of a calendar within that period, a regularly set

22        calendar, I will give you a special set for the hearing.

23             MR. BUMGARNER:      Thank you, Your Honor, very much.

24             THE COURT:      All right.        Anything else we should be

25        discussing at this point?



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 1            (No audible reply) .

 2           THE COURT:        Thank you.        We will be at recess.

 3           MR. BUMGARNER:        Thank you, Your Honor.

 4                         (Conclusion of oral ruling. )

 5

 6     ls/Marjorie Jackson, CET/November 9, 2018

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                                   Exhibit B

             Order Denying Motion for Reconsideration, December 21, 2018




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              Case
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                                                       Below is the Order of the Court.

 1                                                                           (
 2                                                     Marc Barreca
                                                       U.S. Bankruptcy Judge
 3                                                     (Dated as of Entered on Docket date above)

 4

 5
 6
 7
 8
                                UNITED STATES BANKRUPTCY COURT
 9                              WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
10
11
      In re
12                                                  Bankruptcy Case No. 16-14901-MLB
      Christine Tavares,
13
14                            Debtor.

15                                                  Adversary No. 18-01002-MLB
      Christine Tavares
16
                              Plaintiff,
17                     v.                           ORDER DENYING MOTION FOR
                                                    RECONSIDERATION
18    Alabama Housing Finance Authority,
19                            Defendant.
20
              This matter came before me on Plaintiffs motion for reconsideration (Dkt. No. 86, the
21
     "Motion for Reconsideration"), seeking reconsideration of my Order on Defendant's Motion to
22
     Dismiss Plaintiffs Second Amended Complaint (Dkt. No. 83). 1
23
              I considered the pleadings and files herein pursuant to Federal Rule of Bankruptcy
24
     Procedure ("Fed. R. Bankr. P.") 9023, Federal Rule of Civil Procedure ("Fed. R. Civ. P.") 59(e),
25
26
             Plaintiff did not comply with Local Bankruptcy Rule 9013-l(h) and Local Civil Rule
              1
27   7(h). The motion should not have been noted for hearing. In accordance with the local rules, I
28   determine that a response from the Defendant is not necessary and I will therefore rule on the
     Motion for Reconsideration prior to the hearing date.

                                                 Page 1 of 3


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